                     UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                         3:20-CV-00504-FDW-DSC

CPI SECURITY SYSTEMS, INC.,

   Plaintiff and Counterclaim Defendant,

                    v.
                                                MEMORANDUM IN SUPPORT
VIVINT SMART HOME, INC.,                       OF DEFENDANTS’ MOTION FOR
f/k/a MOSAIC ACQUISITION CORP.;                PARTIAL SUMMARY JUDGMENT
LEGACY VIVINT SMART HOME, INC.
f/k/a VIVINT SMART HOME, INC.,

      Defendants and Counterclaimants.


      Pursuant to Rule 56(c) of the Federal Rules of Civil Procedure, Defendants

Vivint Smart Home, Inc. and Legacy Vivint Smart Home, Inc. (together, “Vivint”)

move for summary judgment on Plaintiff CPI Security Systems, Inc.’s claim under

the North Carolina Unfair and Deceptive Trade Practices Act (“UDTPA”).

      Summary judgment on this claim is warranted because a misrepresentation-

based UDTPA claim, such as the one CPI is asserting here, requires detrimental

reliance by the plaintiff. Here, CPI’s claim is premised on detrimental reliance by

third parties (a handful of its customers). As the Fourth Circuit, the North Carolina

Supreme Court, the North Carolina Court of Appeals, and the North Carolina

Business Court have all made clear, only a plaintiff’s reliance can support a

misrepresentation-based UDTPA claim. A third party’s reliance, by contrast, cannot.

      For this reason, summary judgment on this claim (Count 3) is warranted.
                                  INTRODUCTION

       This motion seeks narrow, targeted relief as to one claim, but the potential

exposure of treble damages and attorneys’ fees on this claim means that much is at

stake for the parties, and the outcome of this motion could substantially narrow the

issues for trial.

       CPI’s claim under the UDTPA is premised on alleged misrepresentations by

Vivint to CPI’s customers. As described more fully below, the UDTPA allows for

misrepresentation-based claims, but only in carefully circumscribed instances: where

plaintiffs themselves detrimentally rely on misrepresentations. For plaintiffs whose

theory is that misrepresentations were made to third parties, no such claim is

available.

       Yet that is precisely the claim that CPI hopes to present to a jury here. CPI’s

UDTPA claim is based on alleged misrepresentations by Vivint sales representatives

on the “doorsteps” of third-party CPI customers during door-to-door sales. That

theory is necessarily a third-party reliance theory. After all, CPI does not contend—

nor would there be any evidence to support the notion—that CPI itself relied to its

detriment on any alleged misrepresentations. Instead, CPI seeks to argue to a jury

that Vivint made misrepresentations to CPI’s customers, and then, contrary to the

controlling precedent discussed below, CPI hopes the Court will allow it to step into

the shoes of these third parties so that it can seek treble damages against Vivint

under the UDTPA.

       That tactic is one that North Carolina law does not allow. Therefore, summary

judgment on CPI’s misrepresentation-based UDTPA claim (Count 3) is warranted.


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                 STATEMENT OF UNDISPUTED MATERIAL FACTS

      1.     CPI asserts four claims in this action. 1 One of those claims is a claim

under the UDTPA. Doc. 29 ¶¶ 68–78. 2

      2.     CPI’s claim under the UDTPA is based on alleged misrepresentations

by Vivint’s sales representatives to CPI customers—as CPI describes them, “false

pitches” to these customers. Id. ¶¶ 73, 71.

      3.     CPI claims these alleged “false sales pitches [were] likely to, and did,

unfairly deceive CPI’s customers into believing that they were continuing and

‘upgrading’ their CPI services, when in fact, the agents were obliging them to new

contracts for new services with Vivint.” Id. ¶ 73.

      4.     CPI also claims Vivint sales representatives made misrepresentations

to CPI customers about offers to “buy out” the CPI customer’s existing contract with

CPI. Id. ¶ 74.

      5.     According to CPI, the crux of this lawsuit is the alleged occurrence of

misrepresentations that misled CPI customers into signing new contracts with

Vivint, which, in turn, has allegedly damaged CPI based on its customers’

detrimental reliance. Id. ¶¶ 27–30. CPI’s complaint alleges the following:



1     CPI asserts three other claims that are not the subject of this motion: a claim
for unfair competition under the Lanham Act (Doc. 29 ¶¶ 50–59); a common law
unfair-competition claim, (id. ¶¶ 60–67); and a claim for tortious interference (id.
¶¶ 85–92). CPI voluntarily dismissed a claim for trade slander. Doc. 37.
2     To be clear, Vivint is not suggesting that the truth of these allegations is
undisputed; quite the opposite. For purposes of this motion only, Vivint is simply
describing what CPI has alleged as the basis of its UDTPA claim.



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      ¶ 27. Vivint’s sales agents target CPI customers in various ways, often
      by seeking houses with the distinctive CPI yard sign that CPI’s
      customers post on their premises to deter burglars and trespassers.

      ¶ 28. Vivint’s sales agents solicit CPI’s customers in unannounced
      “cold” door-to-door sales visits to the customers’ homes. At the
      beginning of these visits, and often throughout the sales encounter, the
      agents use deceptive sales pitches that are intended to mislead (and that
      do mislead) CPI’s customers into believing that Vivint represents CPI,
      or that Vivint is affiliated with CPI, that they are visiting at CPI’s
      direction, that they work for the companies that made the CPI’s alarm
      equipment installed in the customers’ homes, or that Vivint has
      purchased or is purchasing CPI.

      ¶ 29. Vivint’s agents use these pitches to induce CPI customers to
      believe that they have an existing business relationship with the agents,
      to trust them, and to grant the agents entry into their homes. Once
      inside, having won the customers’ trust by this deception, the agents
      coerce customers to sign Vivint contracts and install Vivint alarm
      systems in the often mistaken belief that they are receiving new CPI
      equipment from CPI, a CPI affiliate, or a CPI successor, or that Vivint
      is assuming the CPI account, or that the customer has no choice but to
      permit the transaction to go forward if he or she wishes to continue to
      have operational alarm-monitoring services. In reality, Vivint is
      converting the CPI account into a new Vivint account.

      ¶ 30. Vivint’s deceptive practices injure CPI by causing CPI’s
      customers to listen to their deceptive sales pitches, allow Vivint’s agents
      entry to their homes under false pretenses, sign Vivint contracts,
      uninstall their CPI alarm systems, replace these systems with Vivint’s
      equipment, and terminate the customers’ CPI contracts.

Id. ¶¶ 27–30 (emphasis added).

      6.     CPI claims to be “the largest privately-led security provider in the

Southeast, licensed in North Carolina, South Carolina, Tennessee, Georgia, Virginia,

Maryland, Alabama and Florida.” Id. ¶ 11.

      7.     CPI also alleges that Vivint “operates in most states, including North

Carolina.” Id. ¶ 25.




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      8.     CPI alleges that the alleged misrepresentations have been made to

“significant numbers” of CPI customers “across the Southeast.” Id. ¶ 1. After more

than nine months of fact discovery, however, CPI has deposed only seven CPI

customers to support its claim: (1) Laura Ward; (2) Shantell Cheek; (3) Ginger

Garren; (4) Joyce Mariso; (5) Johgre Hinton; (6) Janet Newmark; and (7) Larry

Kodack. See Doc. 58, Exhibits 1–7 (corresponding to the numbered customers above).

      9.     Each of these seven customers testified about alleged interactions that

occurred at their doorsteps during door-to-door sales, with Vivint sales

representatives seeking to win their business by asking whether they were interested

in an alarm services agreement with Vivint. See Doc. 58, Exhibit 1 at 10:10–18 (L.

Ward); Exhibit 2 at 11:5–8 (S. Cheek); Exhibit 3 at 11:21–24 (G. Garren); Exhibit 4

at 19:10–19 (J. Mariso); Exhibit 5 at 8:5–8; 9:1–5 (J. Hinton); Exhibit 6 at 8:7–23) (J.

Newmark); Exhibit 7 at 28:1–2 (L. Kodack). 3

      10.    Each of the seven customers testified to their belief 4 that a Vivint sales

representative made some form of a misrepresentation to them as part of a sales

pitch, primarily with respect to an affiliation or connection between Vivint and CPI.



3     Only the cited portions of these seven transcripts pertain to this motion, but
for the sake of completeness, and given their reasonably short length, the full
transcripts have been provided as attachments to the motion.
4      Defendants do not concede or agree that the substance of the customers’
deposition testimony is undisputed, accurate, or reliable. That is undoubtedly a
disputed issue of fact. For purposes of this motion, however, Defendants acknowledge
only that these customers have alleged certain statements in their testimony in the
nature described here. Defendants reserve the right to—and intend to—contest the
admissibility of that testimony.



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See Doc. 58, Exhibit 1 at 10:19–25, 11:1–8 (L. Ward); Exhibit 2 at 11:5–13 (S. Cheek);

Exhibit 3 at 12:13–15 (G. Garren); Exhibit 4 at 21:25, 22:1–12 (J. Mariso); Exhibit 5

at 10:12–19 (J. Hinton); Exhibit 6 at 12:19–25, 13:1–9) (J. Newmark); Exhibit 7 at

35:5–17 (L. Kodack).

      11.    Unlike CPI’s other claims, which do not allow for treble damages, CPI

seeks treble damages—as well as its attorneys’ fees—against Vivint on its

misrepresentation-based UDTPA claim. Doc. 29 ¶ 78.


                            GOVERNING STANDARDS

      Summary judgment is appropriate when there is no genuine issue of material

fact and judgment for the moving party is warranted as a matter of law. Fed. R. Civ.

P. 56(c). Vivint, as the movant, must initially establish that there is no genuine issue

of material fact, but once Vivint has made this threshold showing, CPI, as the non-

movant, may not rest on allegations averred in its pleadings to survive summary

judgment. See Celotex Corp. v. Catrett, 477 U.S. 317, 323–24 (1986). Rather, CPI

must demonstrate specific, material facts exist that give rise to a genuine issue. Id.

      Under this standard, “the existence of a mere scintilla of evidence in support

of the non-movant’s position is insufficient to withstand the summary judgment

motion.” Green v. Dye, No. 5:17-CV-103-FDW, 2019 WL 1332376, at *4 (W.D.N.C.

Mar. 25, 2019), appeal dismissed sub nom., Green v. Wilcox, 788 F. App’x 207 (4th

Cir. 2019). “Only disputes over facts that might affect the outcome of the suit under

the governing law will properly preclude the entry of summary judgment. Factual

disputes that are irrelevant or unnecessary will not be counted.” Id.



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                                   ARGUMENT

I.    CPI’s misrepresentation-based UDPTA claim fails because it is premised on a
      “third-party reliance” theory that North Carolina law does not allow.

      To survive summary judgment on a UDPTA claim, a plaintiff must make a

prima facie showing of proximate cause—in other words, that the allegedly deceptive

act “proximately caused injury to the plaintiff.” Bumpers v. Cmty. Bank of N. Va.,

367 N.C. 81, 88, 747 S.E.2d 220, 226 (2013) (emphasis added); Drouillard v. Keister

Williams Newspaper Servs., Inc., 108 N.C. App. 169, 172, 423 S.E.2d 324, 326 (1992).

      For UDTPA claims premised on alleged misrepresentations, this proximate

cause element requires plaintiffs to establish that they themselves relied on the

alleged misrepresentations. Bumpers, 367 N.C. at 89, 747 S.E.2d at 226 (“[A] claim

under section 75-1.1 stemming from an alleged misrepresentation does indeed

require a plaintiff to demonstrate reliance on the misrepresentation in order to show

the necessary proximate cause.”); see also, e.g., Caper Corp. v. Wells Fargo Bank,

N.A., 578 F. App’x 276, 287 (4th Cir. 2014) (per curiam) (same); DC Custom Freight,

LLC v. Tammy A. Ross & Assocs., Inc., 273 N.C. App. 220, 234, 848 S.E.2d 552, 563

(2020) (same); Bite Busters, LLC v. Burris, No. 20 CVS 899, 2021 WL 1161316, at

*10 (N.C. Super. Mar. 25, 2021) (same). Thus, North Carolina law “precludes a

UDTPA claim . . . in which a third party’s reliance caused damage to the plaintiff”—

that is, a “[p]laintiff cannot base a theory of causation on the reliance of another

party.” DC Custom Freight, 273 N.C. App. at 234, 848 S.E.2d at 563 (summarizing

Bumpers, 367 N.C.at 90, 747 S.E.2d at 227); see also Bite Busters, 2021 WL 1161316,

at *10 (same).



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      As the North Carolina Supreme Court explained in Bumpers, “[s]uch a

requirement has been the law of this state for quite some time.” 367 N.C. at 88–89,

747 S.E.2d at 226 (internal citation omitted). Accordingly, the Fourth Circuit has

noted that “[i]f the claim arises from the defendant’s alleged misrepresentation, the

plaintiff must also plausibly allege that it ‘reasonabl[y] reli[ed]’ on that

misrepresentation.” Caper Corp., 578 F. App’x at 287 (quoting Bumpers, 367 N.C. at

88, 747 S.E.2d at 226) (emphasis added).

      A    plaintiff’s   burden   of   establishing   detrimental    reliance     for   a

misrepresentation-based UDTPA claim is akin to a plaintiff’s burden of satisfying the

“detrimental reliance requirement under a fraud claim.” Bumpers, 367 N.C. at 89,

747 S.E.2d at 227. Thus, “[i]n making this inquiry [the courts] examine the mental

state of the plaintiff,” not some third party or parties. Id. (emphasis added).

      This inquiry asks the Court to determine whether the plaintiff can satisfy the

requirement of “actual reliance” as well as “reasonable reliance”—the “two key

elements” needed to establish “detrimental reliance” for a misrepresentation-based

UDTPA claim. There, as well, the Court’s inquiry is focused on the plaintiff, not third

parties. This is because “actual reliance requires that the plaintiff have affirmatively

incorporated the alleged misrepresentation into his or her decision-making process,”

and “[r]eliance is not reasonable where the plaintiff could have discovered the truth

of the matter through reasonable diligence.” Id. at 90, 747 S.E.2d at 227 (emphasis

added).




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       For these reasons, a plaintiff seeking to pursue a misrepresentation-based

UDTPA claim cannot establish proximate cause by pointing to someone else’s reliance

on the alleged misrepresentations. See, e.g., DC Custom Freight, 273 N.C. App. at

234, 848 S.E.2d at 563 (affirming summary judgment on UDTPA claim on these

grounds); Bite Busters, 2021 WL 1161316, at *10 (dismissing UDTPA claim to the

extent it was premised on such a theory). Instead, as the North Carolina Court of

Appeals held last year, “[i]t is clear . . . that only the direct reliance of the plaintiff is

sufficient to support a [section 75-1.1] claim based on misrepresentation.”               DC

Custom Freight, 273 N.C. App. at 234, 848 S.E.2d at 563 (emphasis added).

       As the Court explained, “Bumpers is unequivocal in its language: actual

reliance requires that the plaintiff have affirmatively incorporated the alleged

misrepresentation into his or her decision-making process,” and, therefore, “[a]

plaintiff must prove that he or she detrimentally relied on the defendant’s

misrepresentation.”     Id. (internal citations and quotations omitted, emphasis in

original). Thus, a plaintiff cannot bring a misrepresentation-based UDTPA claim

when the alleged misrepresentation “was communicated only to [a] third party,”

rather than the plaintiff. Id. at 233–34, 848 S.E.2d at 563 (explaining further that

North Carolina law “precludes a UDTPA claim . . . in which a third party’s reliance

caused damage to the plaintiff,” because a “[p]laintiff cannot base a theory of

causation on the reliance of another party”).

       The North Carolina Business Court likewise reaffirmed this rule five months

ago. Applying the precedent above, the Business Court reaffirmed that a plaintiff




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cannot pursue a misrepresentation-based UDTPA claim by relying on “allegations

that [the defendant] misrepresented to customers his right to start a competing

business and thereby induced those customers to take actions that harmed the

[c]ompany.” Bite Busters, 2021 WL 1161316, at *10 (emphasis added). The Business

Court held that this type of third-party reliance theory would violate the North

Carolina Supreme Court’s “direct reliance” requirement in Bumpers, because the

plaintiff “failed to allege that the [c]ompany [the plaintiff] relied on [the defendant’s]

alleged misrepresentation.” Id. (emphasis added) (dismissing UDTPA claim to the

extent it was premised on third-party reliance).

      In sum, as the North Carolina Supreme Court “unequivocally” held in

Bumpers, and as the Fourth Circuit, North Carolina Court of Appeals, and Business

Court have all recognized, there is simply no such thing as third-party reliance for

misrepresentation-based UDTPA claims.

      Yet that third-party reliance theory is exactly what CPI hopes to pursue here.

Despite more than nine months of discovery and 19 depositions by CPI, the only

testimonial evidence of CPI’s misrepresentation-based UDPTA claim consists of

alleged misrepresentations by Vivint sales representations to third party customers.

See supra at 2–5 (Statement of Undisputed Material Facts). This is unsurprising,

because from the inception of this litigation, CPI has premised its UDTPA claim on

allegations of misrepresentations to third-party customers. Doc. 29 ¶¶ 71, 73, 74, 76.

      Naturally, the specific content or statements made within the seven purported

“false sales pitches” (id. ¶ 73) may vary depending on the facts and circumstances of




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each individual customer interaction, because no two customer interactions will ever

be identical. Yet it cannot be disputed that each interaction amounts to purported

misrepresentations to third parties, with zero reliance by CPI, the only plaintiff in

this case. Indeed, CPI admits as much: It affirmatively alleges that the crux of its

case is that Vivint’s alleged “false sales pitches [were] likely to, and did, unfairly

deceive CPI’s customers into believing [the alleged misrepresentations].” Id. ¶ 73

(emphasis added). Nowhere has CPI alleged, nor would the evidence support, a

theory that CPI somehow relied on alleged statements about its own affiliation with

Vivint, let alone that Vivint representatives made any “false sales pitches” at CPI’s

doorstep.

      In sum, CPI is seeking to get to a jury on a third-party reliance theory that

North Carolina’s courts have held—twice in the past year alone—is “clearly” and

“unequivocally” prohibited. See DC Custom Freight, 273 N.C. App. at 234, 848 S.E.2d

at 563 (reaffirming that the rule is “clear”); Bite Busters, 2021 WL 1161316, at *10

(noting that the rule is “unequivocal”). CPI’s third-party reliance theory for its

UDTPA claim simply has no basis in North Carolina law.


                                   CONCLUSION

      Vivint respectfully requests that the Court grant summary judgment in its

favor on CPI’s UDTPA claim (Count 3).




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      Respectfully submitted the 9th day of September, 2021.

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                        CERTIFICATE OF COMPLIANCE

      I certify that the foregoing document complies with the length requirements

set forth in paragraph 3(c) of the Case Management Order (Doc. 35).

      This the 9th day of September, 2021.

                                      s/ Andrew H. Erteschik
                                      Andrew H. Erteschik




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                            CERTIFICATE OF SERVICE

      I certify that I have electronically filed the foregoing document with the Clerk

of Court using the CM/ECF system, which will send notification of filing to all counsel

and parties of record.

      This the 9th day of September, 2021.

                                        s/ Andrew H. Erteschik
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